IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF MISSOURI
SOUTHERN DIVISION

SURREY VACATION RESORTS, INC.,
d/b/a GRAND CROWNE RESORTS,

Plaintiff and
Counterclaim Defendant,

Vv. Case No. 1SAF-CC00257

THE SURREY PHASE IV OWNERS’
ASSOCIATION, INC., d/b/a CARRIAGE
PLACE OWNER ASSOCIATION, et al.,

Defendants and Third-Party
Plaintiffs and
Counterclaimants,

Vv.

LEON BASYE, et al.,

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Third-Party Defendants.

PLAINTIFF’S AND THIRD-PARTY DEFENDANT’S
SUGGESTIONS IN SUPPORT OF MOTION TO DISMISS

COME NOW Plaintiff and Third-Party Defendant, Alex Hodges, by and through
undersigned counsel, and for their Suggestions in Support of their Motion to Dismiss
Defendants’ First Amended Counterclaims and Third Party Claims (“Amended Counterclaim”),
state as follows.

A. Count L of the Amended Counterclaim Should be Dismissed

Count I of the Defendants’ Amended Counterclaim fails to state a claim for breach of

contract upon which relief may be granted. In order to plead a proper breach of contract claim,

the Defendants must plead: (1) the existence of a valid contract; (2) the rights and obligations of

1

Case 6:15-cv-03218-BCW Document 34 Filed 06/30/15 Page 1 of 11
each party; (3) a breach; and (4) damages. See Evans v. Werle, 31 S.W.3d 489, 493 (Mo.App.
W.D.2000). The Defendants’ Court I fails because they cannot plead any obligation of Plaintiff
or of any Third Party Defendant that has been breached.

First, the only party to the Transfer and Turnover Agreements’ other than the Defendants
themselves is Plaintiff Surrey Vacation Resorts, Inc. (“SVR”). While the heading to Count I
only refers to SVR, Paragraph 52 of the Amended Counterclaim refers to an alleged breach of
the Transfer and Turnover Agreements by “SVR, Capital Resorts Group, LLC and CRG Club
Trust, Inc.” However, it has long been a basic tenet of contract law that “one not a party to a
contract is not bound thereby and is not liable for breach of a contract to which he is not a party.”
Kahn v. Prahl, 414 8.W.2d 269, 278 (Mo.1967). Therefore, to the extent Count I is construed as
pleading a claim against Third Party Defendants Capital Resorts Group, LLC and/or CRG Club
Trust, Inc., it must be dismissed.

Second, the plain language of the Transfer and Turnover Agreements demonstrate that
SVR did not have the obligation alleged, specifically, to ensure that only “non-affiliates [of
SVR] would be nominated to the [Board of Directors for the Associations] in the future.”
(Amended Counterclaim, 47). Further, the Transfer and Turnover Agreements have no
language that can serve as the basis for the alleged breach—that SVR (and others) breached the
agreement “by attempting to nominate a slate of their employees to the Boards of Directors [for
the Associations] ....”. (Amended Counterclaim, §52). Instead, the plain language of the
Transfer and Turnover Agreements show that the provisions quoted in Paragraph 45 of the

Amended Counterclaim and serving as the basis of the alleged breach in Paragraph 52 of the

 

* The term “Transfer and Turnover Agreements” refer to those like-titled agreements attached to SVR’s Petition
against Defendants. [DOC 1, Attachment #1].

2

Case 6:15-cv-03218-BCW Document 34 Filed 06/30/15 Page 2 of 11
Counterclaim are limited to events which were to take place at a certain Special Meeting on
August 23, 2011. The Transfer and Turnover Agreements clearly omit any language limiting by
affiliation the persons who could be nominated to the Boards “in the future.”

In fact, the language quoted by the Defendants in Paragraph 45 of the Amended
Complaint, which supposedly establishes the obligation alleged to have been breached, is located
within the recitals of the Transfer and Turnover Agreements. However, recitals are not strictly a
part of a contract because they do not impose contractual duties on the parties. G.H.H.
Investments, L.L.C. v. Chesterfield Management Associates, L.P., 262 S.W.3d 687, 693
(Mo.App. E.D.2008). At worse, any contractual duty to have the “Developer-appointed
Directors...resign” (Amended Counterclaim, §45) and allow “persons unaffiliated with the
Developer” (/d.) to be elected to the Associations’ Board of Directors was performed in full at
the Special Meeting on August 23, 2011.

The Defendants’ goal now, on terms conspicuously absent from the Transfer and
Turnover Agreements, is to prevent SVR from nominating and voting for duly-qualified
candidates of its own choosing, including candidates which may be affiliated with SVR, even
though the Transfer and Turnover Agreements did not in any way restrict the right of SVR, or
any other party, to do so. The Defendants cannot supplant the actual terms of the Transfer and
Turnover Agreements with entirely different terms that would drastically restrict SVR’s rights
into the foreseeable future. The contractual duty of SVR is set out unambiguously in the Transfer
and Turnover Agreements, and a plain reading of those agreements, shows SVR has not
breached a contractual duty simply by attempting to exercise its right to make nominations and

vote for members of the Defendants’ respective Boards of Directors.

Case 6:15-cv-03218-BCW Document 34 Filed 06/30/15 Page 3 of 11
Further, any claim for “fraud in the inducement” contained in Count I should be
dismissed for failure to plead fraud with particularity. The elements for fraud under Missouri
law require “a representation; that is false; that is material; the speaker's knowledge of its falsity
or ignorance of its truth; the speaker's intent it be acted on; the hearer's ignorance of the falsity of
the representation; the hearer's reliance; the hearer's right to rely on it; and injury.” Heberer v.
Shell Oil Co., 744 8.W.2d 441, 443 (Mo. banc 1988). The circumstances of each element must
be stated with particularity. Jd.; Rule 55.15; F.R.C.P. 9(b); State ex rel. PaineWebber v.
Voorhees, 891 S.W.2d 126, 129 (Mo. banc 1995). Failure to plead any element renders the
petition subject to dismissal. Schauer v. Gundaker Movits Real Estate Co., 813 S.W.2d 112, 114
(Mo.App.1991).

There is an outright failure on the part of the Defendants to fulfil even the basic pleading
requirements of fraud—relying instead on only the use of the term “fraud.” Under any standard,
the Defendants have not plead fraud with the requisite particularly; therefore Count I of the
Amended Counterclaim, to the extent construed to include a fraud claim, must be dismissed.

B. Count I of the Amended Counterclaim Should be Dismissed

Count II of the Amended Counterclaim, which purports to plead civil conspiracy based
on tortious interference with a contract, should be dismissed because the allegations fail to state a
claim upon which relief may be granted for the underlying tortious acts.

To demonstrate a civil conspiracy existed, a claimant must show: (1) two or more
persons; (2) with an unlawful objective; (3) after a meeting of the minds; (4) committed at least
one act in furtherance of the conspiracy; and (5) claimant was thereby damaged. W. Blue Print

Co., LLC v. Roberts, 367 S.W.3d 7, 22 (Mo. 2012). Although civil conspiracy has its own

Case 6:15-cv-03218-BCW Document 34 Filed 06/30/15 Page 4 of 11
elements that must be proven, it is not a separate and distinct action. /d. Rather, it acts to hold the
conspirators jointly and severally liable for the underlying act. Jd. “[I]f tortious acts alleged as
elements of a civil conspiracy claim fail to state a cause of action, then the conspiracy claim fails
as well.” Jd. A case will be dismissed if a plaintiff fails to plead a cause of action for the
underlying tort. Hibbs v. Berger, 430 S.W.3d 296, 320 (Mo. Ct. App. 2014).

In order to establish a claim of tortious interference under Missouri law, the following
elements must be established: (1) a contract or a valid business relationship or expectancy (not
necessarily a contract); (2) defendant's knowledge of the contract or relationship; (3) intentional
interference by the defendant inducing or causing a breach of the contract or relationship; (4) the
absence of justification; and (5) damages resulting from defendant's conduct. Salomon v. Crown
Life Ins. Co., 536 F.2d 1233, 1238 (8th Cir. 1976). Where both the plaintiff and defendants are
parties to the contract at issue, the defendants’ breach cannot be the basis of a cause of action for
tortious interference with a business or contractual relationship. Lick Creek Sewer Systems, Inc.
v. Bank of Bourbon, 747 S.W.2d 317, 322 (Mo. App. S.D. 1988). Similarly, where an individual
being sued is an agent of the defendant party allegedly in breach, and is acting for that party, the
agent is considered the same as the defendant for purposes of tortious interference, and the action
will not lie against that individual. Oliver v. Ford Motor Credit Co., LLC, 437 8.W.3d 352, 360
(Mo. Ct. App. 2014).

Defendants’ purported claim for civil conspiracy fails because the alleged underlying tort
fails. First, as discussed with Count I, the Amended Counterclaim fails to state a cause of action
for breach of contract, so Defendants cannot establish the breach element required for a claim of

tortious interference. Second, even assuming any breach occurred, the Amended Counterclaim

Case 6:15-cv-03218-BCW Document 34 Filed 06/30/15 Page 5 of 11
does not set out any separate count for tortious interference with a contract nor do Defendants
state such a cause of action in Count II. The allegations fall far short of asserting tortious
interference with a contract, stating only that “Hodges, Shroff, Myers, Bayse, CRG Club Trust,
and Capital Resorts (‘Third-party Defendants’) conspired to relieve SVR of its obligations under
the Transfer and Turnover Agreements, thereby causing SVR to breach its obligations to the
Associations.” Since the tortious acts alleged fail to state a cause of action, the overarching
conspiracy claim fails as well, and the Count II conspiracy claim should be dismissed. Hibbs,
430 S.W.3d at 320.

Furthermore, Defendants’ characterization of the relationship between SVR and the other
Third-Party Defendants itself defeats the conspiracy claim. Defendants assert that the
“affiliation” between SVR, Capital Resorts Groups, LLC, and CRG Club Trust, Inc. is so direct
that it is a violation of the Turnover and Transfer Agreements for SVR to approve those entities’
nominees to the Board of Directors. (See Amended Counterclaim, 49-51, 64). In essence,
Defendants assert in Count I that the Third-Party Defendants are acting as agents or affiliates of
SVR, then in Count II, Defendants allege those same parties were all part of a conspiracy to
“relieve SVR of its obligations under the Turnover and Transfer agreements.” However, as a
general rule, there can be no conspiracy between an agent and a principal. Mika v. Central Bank
of Kansas City, 112 S.W.3d 82, 94 (Mo.App.2003). Furthermore, “[t]wo entities that are not
legally distinct cannot conspire with one another.” Jd.

Moreover, Defendants include SVR in Count II as part of the supposed conspiracy for
tortious interference. As a party to the Turnover and Transfer Agreements, any “breach” by SVR

cannot be the basis of its own liability in an action for tortious interference with a contract.

Case 6:15-cv-03218-BCW Document 34 Filed 06/30/15 Page 6 of 11
Similarly, to the extent Defendants allege the individual Third-Party Defendants were acting as
agents of SVR, the individual Third-Party Defendants are considered the same as SVR for
purposes of tortious interference, and the action will not lie. See Oliver v. Ford Motor Credit
Co., LLC, 437 8.W.3d 352, 360 (Mo. Ct. App. 2014).

Read as a whole, Count II of the Amended Counterclaim clearly alleges (although
erroneously) that SVR was motivated to avoid its obligations under the Turnover and Transfer
Agreements, which then led to the Third-Party Defendants’ alleged actions. As a matter of logic,
the Third-Party Defendants cannot be liable for inducing a breach when their alleged actions
were the result, rather than the cause, of SVR’s supposed intent to avoid its contractual
obligations.

For all of these reasons, the civil conspiracy claim fails and must be dismissed.

C. Count HI of the Amended Counterclaim Should be Dismissed

Count TI of the Defendants’ Amended Counterclaim, for “violation of the Missouri
Merchandising Practices Act” should be dismissed because (1) Defendants lack standing, and (2)
there is no ascertainable loss to the Unit Owners.

First, Defendants lack standing to bring the purported cause of action. “[A]n association
has standing to assert a cause of action on behalf of its members if: (1) its members would
otherwise have standing to bring suit in their own right; (2) the interest it seeks to protect is
germane to the organization's purpose; (3) neither the claim asserted nor the relief requested
requires the participation of individual members in the lawsuit. Missouri Outdoor Advertising
Assn., Inc. v. Missouri State Highways and Transportation Commn., 826 S.W.2d 342, 344 (Mo.

banc 1992).

Case 6:15-cv-03218-BCW Document 34 Filed 06/30/15 Page 7 of 11
The Defendants lack standing to bring the claim asserted in Count III under the MMPA
because the claim asserted and relief requested requires the participation of individual members
in the lawsuit. By its nature, the MMPA contemplates the participation of individuals who have
been parties to a sale; it “grants an individual ‘who purchases or leases merchandise ... and
thereby suffers an ascertainable loss of money or property’ the right to pursue a private cause of
action based on a violation of the MMPA.” Bolt v. Giordano, 310 S.W.3d 237, 247 (Mo. Ct.
App. 2010)

In Hoag v. McBride & Son Inv. Co the court found that an association lacked standing to
bring a cause of action for misrepresentation as it would depend on different representations
allegedly made by the defendants to different prospective homebuyers at different times over a
period of approximately ten years. 967 S.W.2d 157, 173 (Mo. Ct. App. 1998). Also, the
association would have to establish that each prospective homeowner heard the alleged
misrepresentations and the damages that each homeowner suffered. Jd. Thus, the prosecution of
the misrepresentation claims would require the participation of each individual homeowner.
Therefore, the association, through its trustees, did not have standing to assert the
misrepresentation claims. Jd.

Similarly in this case, the Defendants purport to state a cause of action under the MMPA
for making misrepresentations to “hundreds of Unit Owners.” (Amended Counterclaim, § 81).
Additionally, the Defendants allege that the various owners have been damaged through the
transfer of their ownership interests and, somehow, by SVR’s alleged failure to pay maintenance
fees to the Defendants. (See Amended Counterclaim, § 87). By the very nature of the MMPA,

the cause of action in Count HI will depend on different representations allegedly made by the

Case 6:15-cv-03218-BCW Document 34 Filed 06/30/15 Page 8 of 11
Count II] Defendants to the different owners over time, and will be contingent on whether each
owner actually heard the representation, and what damages resulted to each owner, if any.
Because the claim asserted and the relief requested requires the participation of individual
members in the lawsuit, the Defendants lack standing to bring the claims in Count III.

Second, to the extent the allegations in Count III are based on SVR’s alleged non-
payment of maintenance fees to the Defendants, the allegations in Count III fail to state a claim
for which relief may be granted under the MMPA. If a plaintiff never pays anything to the
defendant, then Plaintiff cannot plead the essential element of ascertainable loss necessary to
bring an action under the MMPA. Freeman Health Sys. v. Wass, 124 S.W.3d 504, 508 (Mo. Ct.
App. 2004) (affirming dismissal of action where plaintiff who challenged bills for medical goods
and services had not paid anything and therefore had no ascertainable loss). Merely incurring an
obligation to pay does not amount to ascertainable loss. See Roberts v. BJC Health System, 391
S.W.3d 433 (Mo. 2013) (patients had no actionable claim against hospitals involved in
fraudulent billing by physician, as patients never paid anything as a result of the misconduct
involved).

Defendants allege that the Unit Owners have been damaged because the maintenance fees
have not been forwarded to the Defendants. There is no allegation that the Unit Owners have
paid anything for any service they did not receive, but only that payments have not been made to
the Defendants. (See Amended Counterclaim, § 87). Such is not an ascertainable loss. Therefore
to the extent Count III fails to allege ascertainable loss by the owners as required under the

MMPA, it should be dismissed.

Case 6:15-cv-03218-BCW Document 34 Filed 06/30/15 Page 9 of 11
D. Count IV of the Amended Counterclaims Should be Dismissed

The Defendants’ Count IV must be dismissed because injunctive relief is a remedy, not
an independent cause of action. See Fletcher v. Conoco Pipe Line Co., 129 F.Supp.2d 1255,
1264 (W.D. Mo. 2001) (“The Court agrees that there is no ‘injunctive’ cause of action under
Missouri law or federal law. Instead, Plaintiffs must allege some wrongful conduct on the part of
Defendant for which their requested injunction is an appropriate remedy.”) and Jackson County,
Mo. ex rel. Nixon v, MERSCORP, Inc., 915 F.Supp.2d 1064, 1072 (W.D. Mo. 2013) (same).
Here, Count IV purports to set forth an independent cause of action for a “Permanent
Injunction,” which is improper under applicable Missouri and federal law. Further, because the
Defendants have not plead a cause of action that can survive dismissal, there is no underlying
wrongful conduct upon which the remedy of injunction could be based. Under either scenario,
Count IV must be dismissed.

E. Count V of the Amended Counterclaims Should be Dismissed

For any action filed under the Declaratory Judgment Act to be proper there must be a
justiciable controversy. State ex rel. Nixon v. American Tobacco Co., 34 8.W.3d 122, 128 (Mo.
bane 2000). A justiciable controversy exists where the plaintiff has a legally protectable interest
at stake, a substantial controversy exists between parties with genuinely adverse interests, and
that controversy is ripe for judicial determination. Missouri Health Care Ass'n v. Attorney
General of the State of Missouri, 953 S.W.2d 617, 620 (Mo. banc 1997).

“The petition must present a ‘real, substantial, presently existing controversy admitting of

specific relief as distinguished from an advisory or hypothetical situation.’ ” George v. Brewer,

10

Case 6:15-cv-03218-BCW Document 34 Filed 06/30/15 Page 10 of 11
62 S.W.3d 106, 109 (Mo. App. S.D. 2001). There must be a sufficiently complete state of facts
presenting issues ripe for determination.”). Jd. at 370. Where there is no justiciable controversy,
it is an abuse of discretion for the trial court to undertake a declaratory judgment action. City of
Springfield v. Events Publ’g Co., L.L.C., 951 S.W.2d 366, 370 (Mo. App. S.D. 1997).

The Defendants fail to allege that there is a real, substantial, presently existing
controversy pursuant to the Uniform Condominium Act, Section 448.3-103(4), as cited in
Paragraph 104 of the Amended Complaint. The Defendants’ pleadings in Count IV are so devoid
of information that SVR and Third-Party Defendants have not been reasonably advised of the
event being sued upon or the relief requested’. As such, it must be dismissed.

WHEREFORE, Plaintiff and Third-Party Defendant Alex Hodges request that the Court
enter an Order dismissing in its entirety Defendants’ Amended Counterclaim, and/or that the

Court order Defendants to make a more definite ae such other and further-relief >

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as the Court may deem just and proper. So

 

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*To the extent that Count IV is construed so as to include a claim against any party other than
SVR, such party must be dismissed because they are not parties to the applicable condominium

documents or to the Transfer and Turnover Agreements.
11

Case 6:15-cv-03218-BCW Document 34 Filed 06/30/15 Page 11 of 11
